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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

FEDERAL TRADE COMMISSION                         §           Case No. 17-cv-194
Plaintiff,                                       §
                                                 §
v.                                               §
                                                 §               Judge Kennelly
                                                 §
CREDIT BUREAU CENTER, LLC, et al.,               §
                                                 §
Defendants.                                      §        Magistrate Judge Valdez




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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FEDERAL TRADE COMMISSION                             §              Case No. 17-cv-194
Plaintiff,                                           §
                                                     §
v.                                                   §
                                                     §                  Judge Kennelly
                                                     §
CREDIT BUREAU CENTER, LLC, et al.,                   §
                                                     §
Defendants.                                          §          Magistrate Judge Valdez




      REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR
                            RETAINER FOR NEW COUNSEL


         The FTC seems to be arguing that counsel should receive no fees because there is a

possibility that he will be incurring fees for work previously performed by prior counsel and any

payment of fees in this case would be inappropriate because victims must be compensated. Such

extreme positions (“No-Fees-No-Way”) rarely serve the ends of justice and ignore the actual

language of the Court’s Memorandum Opinion and Order and Order on Attorney’s Fees. The FTC

also seems to be suggesting that the Court should refuse to grant fees because the case should be

settled and then martials evidence to support their view of the case. Settlement may be achieved

in this case, but recent decisions by the Supreme Court works substantial changes to the FTC’s

authority to seek disgorgement of funds and to limit access to “untainted” funds.

         The FTC’s opposition memorandum seeks to vilify Michael Brown in a case where, at

best, individual liability is based on an alleged disregard of complaints of a fraudulent scheme by

Lloyd and Pierce. Unlike the vast majority of courts that have imposed individual liability against

corporate owners, Mike Brown was not directing fraudulent operations conducted by Lloyd &

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Pierce, and did not actually know that the real estate listings were a sham and fraud.1 Indeed,

Brown would have insisted on using legitimate real estate listings because the marketing concept

was legitimate, cost-effective and created satisfied customers. Injunctive relief is preliminary and

allows the parties to fully develop the facts through discovery. This Court recognized the

preliminary nature of its findings and also recognized that Defendants should have access to funds

for their defense.

        The request for retainer should not be denied because there are significant issues material

to the outcome of this case that justify expenditure of attorney’s fees.2 Defendants ask this Court

to overrule the FTC’s objections to the requested retainer for the following reasons:

        1. Defendants are entitled to funds from untainted assets not properly attributable
           to the alleged violations of the FTC Act. The Receiver was unable to determine
           which revenues came from which website and the extent to which funds seized
           from CBC contained untainted funds. Defendants must be allowed access to
           customer data to establish that untainted funds exist, and may be used toward
           their defense. Counsel recently made informal and formal requests for CBC’s
           data base.

        2. Disgorgement is not allowed as a remedy under the FTC Act because the
           intention is to penalize individual offenders and deter others similarly situated.
           Simply stated, the in terrorem threat of disgorgement and justification for an
           asset freeze is improper because individuals accused by the FTC are subjected
           to the threat of losing everything they own despite legitimate defenses under
           the constitution. See U.S. Amend 5.

        3. At the very least, if Defendants are to be subjected to punishment, they should
           be allowed access to untainted funds to defend themselves. As a matter of Fifth
           Amendment due process, CBC must have funds to allow competent counsel to
           present their defense. As set out below, it appears that the disgorgement claims
           and seizure of the entire business and Brown’s assets constitutes “punishment”


1
   There is a distinction between knowing that non-existent listings are being used to defraud
customers and recklessly disregarding customer complaints that have, over time, been resolved
through refunds. A court may be empowered to impose liability for both, but fairness and due
process requires that the severity of the remedy be tempered with the level of culpability. See U.S.
Amend 5.
2
  It is important to note that counsel does not intend to ask the court to authorize fees covering all
of counsel’s fees associated with coming up to speed in this case.
                                                  5
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           and therefore entitles Defendants to rights guaranteed under the Sixth, Seventh
           and Eighth Amendments. Further analysis is required so that Defendants can
           make an informed judgment on how or when to squarely raise these issues with
           the Court.

        4. Defendants’ overall position in this case was undermined when their then-
           counsel advised Defendants that they could re-start the business using the very
           same customer information subject to specific prohibitions under the
           Preliminary Injunction. Mr. Brown wanted to raise the defense to the contempt
           charges. Incredibly, counsel told the Court that if Mr. Brown asserted the
           advice-of-counsel defense, they would deny the allegations. Counsel did, in
           fact, advise Mr. Brown that Defendants could re-start the business and use
           prohibited customer data. Simply stated, it appears that counsel suppressed
           the truth while their client was punished for doing what clients should do when
           it comes to legal matters--- following their attorney’s advice.

        5. Michael Brown was denied effective assistance of counsel in contempt
           proceedings because his attorneys had a conflict of interest, breached their
           fiduciary duty to their client and effectively misled the Court about their advice
           of counsel to Mr. Brown.

        6. Finally, the FTC’s settlement position turns on voluminous documents and
           various legal issues some of which are in their complaint and some which are
           evidentiary in nature. The issues require legal and factual analysis as opposed
           to shoot-from-the-hip” rhetoric.

Counsel has requested a modest retainer of $20,000 to get started in the case subject to this

Court’s entry of an order balancing the need to pay reasonable fees against the potential

recovery by alleged victims.3




3
  Counsel has been practicing law since 1979 serving as a Navy JAGC, Assistant United
States Attorney, Chief Disciplinary Counsel and in AV-rated law firms. The hourly rate is
reasonable given the complexity of the issues and counsel’s experience in complex fraud
and DTPA matters. Counsel notes that Mr. Rubin billed at $425 per hour. While at Epstein
Becker & Green in Houston over a seven year period (leaving in 2010), the undersigned
was billed at $425 per hour. Counsel will discount a substantial amount of time expended
in coming up to speed in the case and will identify entries that fall into that category.



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   I.      Defendants Have a Right to Untainted Funds for their Defense. There is
           Substantial Authority That the FTC’s Statutory Remedies of Disgorgement Are
           Constitutionally Infirm.

        Addressing Points 1 through 3 above, denial of access to untainted funds violates

constitutional standards recently set out in Kokesh v. S.E.C., 137 S. Ct. 1635, 156 L.Ed.2d 86

(2017) and Luis v United States, 136 S.Ct.1083, 194 L.Ed 2d 256 (2016). In Kokesh, the Court

unanimously held that disgorgement was a penalty designed to punish violations of the securities

laws. “Disgorgement, as it is applied to SEC proceedings, operates as a penalty under § 2462.”

137 S.Ct. at 1645 (emphasis supplied). Because the penalty is tantamount to a criminal fine under

the rubric of “equitable relief”, the Court must assure that proceedings against Defendants are

constitutionally sound. Luis is a criminal forfeiture case where the Court held that a district court

committed reversible error by refusing to hold a hearing to determine the availability of untainted

fund to retain counsel of choice.

        These two Supreme Court decisions make it clear that the awesome power of government

regulators to shut businesses down is limited by the Fifth, Sixth, Seventh and Eighth Amendments

to the United States Constitution. Counsel has not thoroughly evaluated the law supporting these

claims and believes that there are legitimate legal issues that must be briefed to assist the Court in

resolving these issues. Finally, the Supreme Court’s decision in Austin v. United States, 113 S. Ct.

2801, 125 L .Ed. 2d 484 (1993) analyzes the excessive fines clause in the Eighth Amendment.

Austin was an asset forfeiture case but provides some guidance in analyzing whether the

disgorgement remedy is an excessive fine under the Eighth Amendment.

        Disgorgement requires that the defendant give up “those gains…properly attributable to

the defendant’s interference with the claimant’s legally protected right.” Kokesh, at 1640. Use

of disgorgement is a powerful tool to extract one-sided settlements from alleged violators and has



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become a profit center for the United States treasury.4 To date, Defendants do not have access to

the information that would show the existence and amount of untainted funds. In the instant case,

the FTC’s claim for disgorgement and asset freeze reflects a disturbing trend in government

agencies suing for relief, immediately freezing all of Defendant’s assets and aggressively limiting

the individual’s ability to use untainted assets and access to critical information to defend

themselves in an FTC action.

        Like the Securities Act, the “FTC Act” does not specifically authorize disgorgement.5 FTC

restitution is imposed for violating a public law; it is intended to deter and punish; and it does not

necessarily compensate alleged victims because the FTC has no obligation to make restitution to

consumers and often merely hands over funds to the U.S. Treasury.6 Justice Sotomayor authored

Kokesh. The unanimous decision by the Supreme Court in Kokesh indicates that even the justices

that one might expect to support a “consumer protection” remedy take a dim view of judge-made



4
 See https://www.forbes.com/sites/insider/2017/07/11/chronicle-of-disgorgements-death-
foretold-kokesh-v-sec/#6593ef3c61b8. No doubt, statistics are probably available and will be
obtained for the court’s consideration.
5
  The FTC’s remedies of disgorgement and restitution are not derived from an express statutory
grant but have emerged from court decisions that have “read” these remedies into Section 13(b), a
general statutory that authorizes only injunctions. Courts have created this remedy by exercising
“inherent equitable powers as a form of ancillary “equitable” relief. Regardless of the label used,
Kokesh makes it clear that disgorgement and restitution under the FTC’s statutory structure is a
penalty subject to constitutional limitations. “A modern statutory forfeiture is a “fine” for purposes
of the Eighth Amendment.” Kokesh at 1645. Counsel understands that the SEC has obtained
billions through disgorgement and that the FTC may not be far behind on matching the SEC’s
efforts. Government regulators are understandably attracted to disgorgement like catnip to a cat.
6
 Forbes on line reported that: Justice Anthony Kennedy asked if “specific statutory authority …
makes it clear that the district court can entertain [the disgorgement] remedy.” Both Justices
Samuel Alito and Sotomayor asked for the source of authority seeking disgorgement. Justice Neil
Gorsuch specifically noted that there was no statute governing disgorgement. He said, “We’re just
making it up.” ttps://www.forbes.com/sites/insider/2017/07/11/chronicle-of-disgorgements-death-
foretold-kokesh-v-sec/#6593ef3c61b8


                                                  8
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remedies of disgorgement and restitutionary remedies being exercised by regulators to penalize

and deter other violators.7

          In sum, the Court should exercise caution in denying attorney’s fees where, as here, the

FTC alleges millions must be frozen but then opposes any attorney’s fees and either limits or

blocks any effort to get real statistics to either support or refute its claims. Defendants’ position

on the constitutional issues are preliminary, but appear to have firm grounding in the trilogy of

cases cited above.       Thus, defendants reserve potential arguments to dismiss the FTC’s

disgorgement and restitutionary remedies and arguments regarding the constitutional limits of such

remedies for another day.

    II.      Fees Are Necessary for Counsel to Conduct Discovery and Advocate for CBC
             Operating its Separate Line of Business.

          This Court recognized that Defendants had a right to seek modification of the Court’s order

to “permit CBC to carry on its purportedly separate line of business if CBC and Brown can make

a satisfactory showing this business is indeed separate and untainted by the deceptive and unlawful

practices cited by the FTC….” Memorandum Opinion at 16. Defendants cannot make any

showing without the information and a lawyer to help them martial the evidence.

          Plaintiff has not had an opportunity to conduct meaningful discovery and make an informed

request to this Court regarding the non-Lloyd/Pierce line of businesses, which includes white label

and co-branding businesses. This would necessarily require access to the data bases seized by the

FTC. Simply stated, the Receiver either did not have the expertise or the incentive to determine

the sources of revenue from non-Lloyd/Pierce line of business. The data must be made available




7
 In light of Kokesh, Defendants reserve the right to seek dissolution of CBC and Michael Brown’s
assets.
                                                   9
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to Defendants to analyze.8 Defendants believe that a substantial percentage of CBC’s revenues

are attributable to revenues not generated through Lloyd and Pierce. The data will clearly

demonstrate volume from each website and mobile site.

     III.   Settlement Has Been Complicated By the FTC’s Position on Fees and Defendants’
            Attorneys Denying That They Gave Defendants Bad Advice That Violated the
            Court’s Orders.
        In their response, the FTC complains that settlement discussions have been ongoing for six

months. Dkt. 128 at 5-6.     Part of the problem is that the FTC has not addressed the impact of

Kokesh in seeking disgorgement and restitution.

        Historically, the dynamics of settlement in any FTC case involving disgorgement,

restitution and frozen assets allows the FTC to impose a stranglehold on defendants who cannot

afford legal services without court approval, are facing complete destruction of their business and,

in the case of the owners, complete loss of anything they ever owned. The settlement discussion

is even more one-sided because the FTC also threaten life-long bans in the industry if defendant

resists their settlement position. As illustrated by their response, the FTC invokes the spectre that

victims will not be compensated if the Court allows fees. Assets of $2.1 million have been seized;

yet, evidence of complaints about the service provided by CBC is limited.

        Even assuming arguendo that the advertising may be deceptive, that does not automatically

mean that thousands of customers were dissatisfied with the service.           Indeed, even in the

Lloyd/Pierce line of business, all the customers were looking for rental property and all of them

wanted to demonstrate good credit to potential landlords. While Pierce and Lloyd tricked these


8
  In fairness to the FTC’ attorneys, they are concerned about misuse of the data by Defendants.
This can be done by providing customer data redacting customer information (name, address,
phone, credit card data, etc) but leaving the numerical designations automatically assigned by
CBC’s system. This should be relatively easy to accomplish with the real data be provided on an
attorneys eyes only basis, with redacted data being available to Defendants.

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customers, they still received the credit products offered by CBC. While this Court has made a

preliminary finding that Michael Brown recklessly disregarded complaints about Pierce and

Lloyd’s conduct, the Supreme Court’s decision in Kokesh casts serious doubt on the imposition of

disgorgement in this case.

        The FTC’s position in settlement has hardened since the Court found Mr. Brown in

contempt seeking sanctions that Defendants believe exceed the scope of the statute and which are

not reasonably related to the alleged violations. In some cases, a contempt finding may justify

more stringent sanctions, but the FTC knew that Brown had a conflict of interest with his current

counsel and refused to fund counsel to come in and represent Mr. Brown on the contempt issue. 9

Counsel does not blame the FTC’s attorneys who are likely implementing a Commission policy

opposing any attorney’s fees in this type of case. However, Mr. Brown’s inability to retain

independent counsel resulted in serious harm to his defense in this case.

        A. Non-Lawyers Need and Rely Upon Advice of Counsel in Litigation. Mssrs. Zini
           and McKay Advised Mr. Brown That He Could Operate Zenfia, LLC and Use
           CBC’s Data As Part of This Business Activity.

        While the principle is well established, non-lawyers rely on the “guiding hand” of counsel

to make decisions on how to proceed when it comes to complying with Court orders where, as

here, violating the Court order may result in contempt. Mr. Brown is a non-lawyer whose

education consists of a GED, some community college and on the job training while employed at

Experian. Exhibit A, Declaration of Michael Brown. Like most non-lawyers, Mr. Brown looked

to, and relied upon highly educated, experienced attorneys to give him advice about the FTC



9
  There was a debate at the hearing on the availability of the advice of counsel defense. “[R]eliance
on advice of counsel [is] not a valid defense on the question of knowledge” required for individual
liability.” FTC v. Amy Travel Serv., Inc., 875 F.2d 564, 575 (7th Cir.1989). However, advice of
counsel is available where, as here, counsel affirmatively advised Defendants to violate a court
order, resulting in Defendants being held in contempt.
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complaint and this Court’s orders. Unfortunately, his attorneys gave him bad advice and told Mr.

Brown that he could re-start CBC’s business through Zenfia, LLC and use the old customer data

base.

        B. When Mr. Brown Wanted to Rely on their Advice, His Attorneys Told Him and
           the Court That They Would Have to Withdraw and Deny That They Gave Such
           Advice.

        When the FTC pursued contempt proceedings, counsel then advised Mr. Brown that he

should not raise the advice of counsel defense to this Court. Exhibit A, Brown Declaration. Zini

and Parker then represented to the Court that if Brown raised the defense, they would deny the

allegations and filed a motion to that purpose. Dkt 86 Motion to Withdraw. As set out below,

Brown tried to retain independent counsel to represent him on the contempt issue but could not

retain counsel because the FTC denied funds for at least two attorneys who contacted the FTC to

discuss the matter. Exhibit A, Brown Declaration.

        C. Representations to the Court at the Contempt Hearing


        During the contempt hearing, Greg Zini represented to the Court the following regarding

the “miscommunication” between client and counsel:

              Mr. Zini: What we can say without revealing the contents of any
              communications and without waiving any privilege, is that we
              sincerely believe there was a miscommunication between counsel
              and clients with respect to what could or could not be done pursuant
              ot paragraph 6B of the preliminary injunction which deals with use
              of customer data. Either counsel misunderstood questions posed by
              the client or the client misunderstood answers provided by counsel
              or both. Exhibit B at 10, Dkt 113.

Mr. Zini characterizes a miscommunication between himself and the client, when in reality the

questions that Mr. Brown had regarding the data were very straightforward and Mr. Zini did not

seem to have any confusion regarding when these questions were asked.



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       Additionally, Zini and MacKay told me that they would split the costs of the contempt fine

three ways with me and actually mentioned to the Court that they would be willing to give up some

of their costs in order for Brown to pay the contempt finding. Dckt 113 at 53-54; Exhibit A, Brown

Declaration, ¶15g. Zini stated to the Court: “I’ll take a little bit less, and Parker MacKay saying,

I’ll take a little be less, and Mike Brown saying, I’ll take a little bit less on living expenses

application that we sent on . . . But if we need to create a set – a fund of assets that way, both Mr.

MacKay and I are willing to be flexible on that.” In reality neither MacKay or Zini were willing

to part with any of their fees, and wanted to take the $150,000 that Brown gave them at the

beginning of this case.

       D. The Text Messages Between Zini, Parker and Brown Tell the Real Truth.

       The text messages between lawyers and client tell the real truth----that Zini and Parker did,

in fact, advise Brown that he could re-start the business and use CBC’s customer data:

           a. On March 3, 2017 I was told by MacKay and Zini that I would be able to use old
              customer data and it would not violate the preliminary injunction. The text message
              exchange between myself, MacKay and Zini is below:

                          Mike: Parker or Greg do you have 5 min now or sometime
                          today? Ling want to do a quick call and confirm we allowed
                          to use the past customer data and bill them (the good ones
                          only)

                          Greg: Yes in a few. But the short answer is I think so.

                          Mike: Ok please be more confident thank I think so lol. Call
                          me in a few.

                          Greg: I can’t be more confident than I think so right at the
                          moment. I need to look at the order again and I’m not in a
                          place where I can do that right now. Want to talk in the am
                          instead?

                          Mike: [Picture of excerpt of Order] We were relying on page
                          14 last sentence of paragraph “A”. Only limits customer data
                          if obtained b the bad activities alleged in the complaint. If

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                      that screenshot is enough to be more confident let’s do now.
                      I know parker already said was ok. AM EST is hard for Ling
                      since he pacific time

                      Greg: Looks good to me. I will upgrade my response to “yes
                      but anything can happen.” Exhibit C.


       E. Further Representations to Brown’s New Counsel Prior to Filing This Motion.

       Prior to filing this Motion, counsel asked Mssrs. Zini and Mackay to explain why they

moved to withdraw. The purpose was to find out their side of the “story” before drawing any

conclusions and to give both Parker and Mackay an opportunity to reconsider the damage done to

their client. The following exchange occurred:

       From: Stephen Cochell [mailto:srcochell@gmail.com]
       Sent: Monday, October 09, 2017 10:17 PM
       To: Parker MacKay; Zini, Gregory
       Cc: Jonathan L. Slotter
       Subject: Contempt Order

       Gentlemen:

       I had a lengthy discussion with our client today regarding the contempt of court
       issue. I'm at a loss as to why you took took the position that you took vis a vis the
       contempt. I assume that you were prepared to explain your position to the Court
       when you filed your motion to withdraw and that you probably prepared an
       affidavit.

       Mike says you advised him that he could restart the business and use the old
       customer data base. Regardless of other issues, is that true?

       What advice, if any, did you give Michael Brown after it became clear that he
       wanted to tell the court that you advised him that he could restart the business and
       use the prohibited customer information. The impact of a contempt order on the
       defense of this lawsuit is devastating to CBC and reflects adversely on Mike's
       credibility with the Court.

       We are contemplating a motion to set aside the contempt order. Thus, we request
       that you provide us with a detailed explanation of what you contend happened and
       your factual and legal basis for your actions. In that vein, we believe that you
       have a fiduciary [duty] to this client to provide this explanation in order to avoid
       filing this motion if at all possible.


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         If we do not receive a response from you by or before October 15, 2017, we will
         take steps to file a motion with the Court to vacate the Order.



         From: Zini, Gregory                                                     1:21
                                                                                PM (5
                                                                                hours
                                                                                 ago)

         to me, Parker, Jonathan

         Hi Steve,

         I think the basic issue here is that we did not tell him to restart the business and
         use the old customer database. Accordingly, we could not ethically interpose a
         defense stating otherwise.

         Because the issue concerned advice of counsel, which always is privileged, I did
         not prepare an affidavit concerning my discussions with Mr. Brown.

Exhibit D. Unfortunately, Mr. Zini apparently forgot that he sent texts to Mr Brown that

directly contradicted the position taken with his client and contrary to representations made

to the Court.

   IV.      Defendants Counsel Breached Their Fiduciary Duty of Loyalty to Defendants.

         Prior to the hearing, Mr. Brown tried to retain counsel to represent him on the contempt

issue. Mr. Brown was informed that the FTC refused to support any funds expended on

representing Mr. Brown. In the face of being held contempt, Mr. Brown was not able to make an

informed judgment on how to proceed so he did nothing. Indeed, the FTC’s refusal to fund

independent counsel left his conflicted counsel free to advise him not to oppose the contempt,

threatened to withdraw from the case, represented to the Court that they did not advise him to open

Zenfia, essentially telling him and the Court that they would take the position that he was either

lying or mistaken about asserting the advice of counsel defense.



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           Attorneys who make mistakes in representing clients have a duty to step up to the plate and

be candid to their lawyers and to the Court.         Instead, Mssrs. Parker and Zini breached their

fiduciary duty of loyalty to their client and their duty as officers of the Court leaving Mr. Brown

to fend for himself.10 See Illinois Rules of Professional Conduct Rule 1.3, Rule 3.3(a) (Candor to

the Tribunal); Rule 4.1 (Honesty in Dealing With Third Persons); Rule 8.4 (a) –(d) (Misconduct)

While the FTC may not have been privy to the precise communications, invocation of the advice

of counsel defense to these contempt charges leaves no room for imagination. It appears that the

FTC was satisfied to stand by while Defendants’ own lawyers pressured and took advantage of a

client causing this Court to hold him in contempt. The FTC’s hardened settlement positions are a

function of a contempt finding obtained because Mr. Brown was not represented by conflict-free

counsel.

           Instead of having attorneys serve as his advocate, Michael Brown stood alone and was

found to have intentionally violated a court order.     Intent to specifically violate the Order by this

non-lawyer is negated by reliance on advice of counsel. The Court should vacate the Contempt

Order to preserve the integrity of the Court, to uphold the standards of the legal profession and to

remedy any violations of Mr. Brown’s right to due process. A separate motion will be submitted

to the Court.

      V.      The ROSCA and FCRA Findings Do Not Appear to be Supported by Law.

           Simply put, the FTC asserted that Brown violated the Restore On Line Shopper’s Credit

Act (“ROSCA’s”) negative option disclosure requirements. However, there are negative option



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  See Parus Holdings, Inc. v. Banner & Witcoff, Ltd., 585 F.Supp.2d 995, 1005-1006 (N.D. Ill.
2008) (J. Hart) (Regardless of characterization as breach of fiduciary duty or legal malpractice,
an attorney’s “throwing one client to the wolves to save the other is malpractice, [citations
omitted] whatever the plaintiff chooses to call it. [Citation omitted.]).

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disclosures that appeared exactly where they are supposed to appear---at a location before the

customer submits the billing information.     Brown patterned the design of CBC’s website to a

website established by FreeScore360.com that was modified after an action by the FTC. In other

words, he thought it complied with that Consent Decree and therefore complied with FTC

regulations. Apparently, the FTC believes that the negative option warning must accompany every

statement representing that a product is “free” or a “trial offer.” Such disclosures are impossible

to include on google advertising. Moreover, the statute does not require the disclosure on a “home

page” which merely describes the service. The requirement that the disclosure appear whenever

the words “Trial” or “Free” is used goes far beyond what the statute requires and cannot be

implemented as a practical matter. Exhibit A Declaration of Michael Brown ¶5. ROSCA

provides, in pertinent part, that:

                  i)           (a) REQUIREMENTS FOR CERTAIN INTERNET-BASED
                        SALES.—It shall be unlawful for any post-transaction third party seller to
                        charge or attempt to charge any consumer’s credit card, debit card, bank
                        account, or other financial account for any good or service sold in a
                        transaction effected on the Internet, unless— (1) before obtaining the
                        consumer’s billing information, the post-transaction third party seller
                        has clearly and conspicuously disclosed to the consumer all material
                        terms of the transaction, including— …..


The following disclosure appeared on Creditupdate.com:



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       Moreover, CBC sent “Welcome” letters that restated the ROSCA disclosure stating:

“Thank you for enrolling in your 7-day trial membership to CreditUpdates.com After your 7-day

trial period you will be charged $29.94 every month until cancelled. If you wish to cancel just call

us at (800) 720-8627 to stop your membership.” Exhibit A Declaration of Michael Brown ¶6.

This disclosure was not required by ROSCA and supports Defendants’ contention that they were

doing the right thing the right way.

       Again, Mr Brown does not fall into the class of alleged violators who set out defraud

consumers but has also been victimized by people who were legally and ethically bound to follow

all government rules and regulations. Exhibit A Declaration of Michael Brown ¶5.

       Moreover, the statute does not require that the disclosure be provided anywhere except

prior to obtaining the customer’s payment information.        The FTC may want to engraft new

statutory requirements into ROSCA, but the Court may not create new requirements that were not

authorized by Congress.

       The FTC’s allegations in Count 5 regarding the Fair Credit Reporting Act (“FCRA”) also

raises concerns about the FTC’s position. The FCRA places additional restrictions on marketing

“Free Credit Reports”. When that requirement was added, the credit reporting industry changed

to market “Free Credit Scores” instead of reports. Thus, customers were offered free credit scores,

but not free credit reports. Either of these options are lawful. Experian is a prime example of this

change in marketing, which occurred while Mr. Brown was employed at Experian. Exhibit A

Declaration of Michael Brown ¶2.




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   VI.      There is Additional Evidence Subject to Discovery Regarding Count 1.

         As a threshold matter, it appears to counsel that the FTC’s claims in Count 1 depend, in

large part, on whether Defendants violated ROSCA and the FCRA. In other words, if the Court

ultimately determines that the ROSCA and FCRA claims fail, the only claims that may go to trial

are the claims arising out of Lloyd and Pierce’s fraudulent conduct.

         There was some confusion and failure to present evidence regarding the level of

responsibility that CBC and Mike Brown had for conduct undertaken by Lloyd and Pierce and why

Mr. Brown was not alerted to the various complaints that came through CBC’s Customer Service

Department. First, it should be noted that Mr. Brown was never the subject of any prior FTC or

other consumer lawsuits alleging deceptive trade practices. Exhibit A, Brown Declaration ¶3-6

.Secondly, CBC has marketed numerous credit products through approximately thousands of real

estate agents, including the California Association of Realtors, Realty Times, Business Lenders,

and many credit repair companies and other substantial companies that wanted to co-brand, white

label, or direct traffic to CBC. Id. Pierce represented that he had a data base called RTO (Rent to

Own) Data Base that queried MLS Multiple Listing Service Data Source) to feature rental

properties for interested renters to access his data base properties. The RTO Data Base appeared

legitimate and Pierce told Brown that he was “killing it” meaning that he was very successful in

obtaining customers. Pierce had access to real rental properties from the MLS data source or

misrepresented he did to deceive CBC. Id.

         Unbeknownst to Brown, Pierce knowingly engaged Lloyd to advertise non-existent

properties on Craig’s list to induce customers to use Pierce’s website to link to go to CBC’s

website. The first time that Mike Brown became aware of Lloyd was the day that his accounts

were frozen. CBC was a successful credit reporting service that was growing quickly, about



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doubling year over year.     While the pace of CBC’s growth increased dramatically after CBC

affiliated with Pierce, it made no sense to get involved in a patently fraudulent scheme.       The

marketing plan used by Pierce would have worked just as well with genuine real estate listings.

Exhibit A, Brown Declaration ¶22 .If Brown actually suspected that Pierce website was populated

with non-existent listings, he would have terminated CBC’s relationship with Pierce and either

established this type of service through CBC or located a legitimate company who would have

established a legitimate service with legitimate properties for interested renters. Indeed, access to

the MLS data base to allow identification of rental properties by area costs only $699 per month.Id.

       CBC’s customer service managers, supervisors, and agents worked to resolve any

complaints. Mike was aware that Customer Service was creating an email template for questions

and/or complaints through Craig’s List. The known scams for Craig’s List at that time was for

websites advertising food stamps, government housing (HUD), gift cards (incentived offers) that

required a credit report or score from the customer to earn the gift card. Exhibit A, Brown

Declaration ¶ 23. Mr. Brown directed customer Service to escalate those know scams and

complaints to him. Id.

       For first year and a half, Mike Brown was intimately involved with customer service. As

the company grew, Mike allowed the Customer Service Department to handle all complaints.

They would handle all questions, inquiries or complaints from customers and from the Better

Business Bureau (“BBB”). There were approximately 2 to 4 complaints per month with many

thousand sign-ups per month. Customer service had between 80 to 400 calls per. Exhibit A,

Brown Declaration ¶24 .These were handled by, at many times, a dozen or more Customer Service

Representatives with one to two supervisors and one manager.




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         With this volume, customers signing up for CBC’s products and services, the number of

complaints was not statistically significant.     Of course, that does not immunize anyone from

compliance with the law but it does go to notice of alleged improper consumer practices. BBB

has a proprietary formula that evaluates at least the following: (1) the age of the business; (2) the

number of complaints relative to the size of the business; (3) if there is a response to the complaint;

and (4) if the customer is satisfied with your response to the complaint. BBB submits complaints

listing the website involved. During the life of the creditupdate.com website, about one to two

years, CBC had an A+ rating with the BBB even though there was a total of 72 BBB complaints.

Mike Brown did not recall reviewing these complaints regarding the Pierce website because they

were generally handled by customer service. Mike did see two complaints in summer, 2016 when

CBC applied for BBB accreditation but did not appreciate that the real estate listings were non-

existent.

         Hindsight is 20:20 vision. When customers want to terminate service, many of them call

and complain that they are a victim of a scam. The Customer Service Representatives were skilled

at helping customers understand CBC’s credit-related products and services, but were not skilled

at detecting potential fraud or patterns potential fraud in CBC’s affiliates. Blatant fraud, such as

people calling in with the same credit card number, for example, would be escalated to Mike

Brown.

         When Mike Brown reviewed the two BBB complaints that asserted that a landlord that did

not reply to the website, it did not set off alarm bells that there must be fraud afoot. Both

complaints were resolved with a refund and one was especially old. While one can exercise 20:20

hindsight and conclude that Mike Brown should have launched a full fraud investigation, the

Craig’s List real estate looked legitimate to him. Even the apparently fraudulent non-existent



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properties referenced in the FTC investigators reports appear real and it would now seem the

property photos and property descriptions were stolen from actual real properties.

       Further discovery of the data base and of the FTC’s information is necessary to validate

the number of complaints, their source and nature of the complaint.

   VII.    Brown’s Waiver of the Privilege Is Narrow.

       There is a temptation for attorneys accused of misconduct to exceed the scope of an

appropriate response to the alleged misconduct by unnecessarily disclosing privileged

communications that are either irrelevant or simply calculated to embarrass or even hurt the client.

The narrow issue being raised by Mike Brown related solely to advice he received from Greg Zini

and Parker MacKay as to whether they recommended that he start Zenfia using CBC data. The

client says they did. The attorneys deny the allegations. The text messages support the Client’s

allegations. The attorneys have a right to disclose additional information that concerns the same

subject matter and ought in fairness should be considered with Mr. Brown’s disclosures on the

issue of restarting the business using CBC data and their discussions regarding the advice of

counsel defense.

       The law of waiver of privilege is stated in Rule 502, Illinois Rules of Evidence.

Rule 502 states:


        (a) Disclosure Made in an Illinois Proceeding or to an Illinois Office or
       Agency; Scope of a Waiver. When the disclosure is made in an Illinois proceeding
       or to an Illinois office or agency and waives the attorney-client privilege or work-
       product protection, the waiver extends to an undisclosed communication or
       information in any proceeding only if:

               (1) the waiver is intentional;

               (2) the disclosed and undisclosed communications or information
               concern the same subject matter; and



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               (3) they ought in fairness to be considered together.

To the extent that counsel believe that a disclosure may run afoul of the privilege, they

have the option to file that material under seal with the Court. Otherwise, they run the risk

of breaching the attorney-client privilege.


   VIII. Conclusion


       Defendants filed this reply to amplify the fact that there are significant legal issues

that may have to be resolved by the Court unless the parties can reach settlement in this

case. Counsel understands that the Court must balance an award of fees based on the need

for compensating alleged victims in this case, but also believes that FTC’s power of

disgorgement, life time bans and other sanctions historically imposed by courts are no

longer viable due to new Supreme Court precedent. If the Court agrees with Defendants

on one or more of these issues, the FTC’s right to recovery against Defendants is greatly

affected.   While constitutional issues may be interesting, settlement is usually the best

result for a client.   Other issues have emerged in this case that counsel would have

preferred to avoid.


       Counsel takes no pleasure in filing a motion that questions the honesty of lawyers

representing a client. However, counsel has a duty to report such matters to the Court, and

must do so particularly where, as here, the client was harmed as a result of the advice given.

See IRPC Rule 8.3.


       WHEREFORE, Defendants Credit Bureau Center, LLC and Michael Brown request this

Court enter an order directing the Receiver to pay $20,000 to The Cochell Law Firm, P.C. within



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five days of the date of an order on this matter, said retainer subject to submission of billable time

being submitted to the Court for approval and subject to recoupment of fees that are not deemed

reasonable by the Court.

                                                      By: /s/ Stephen R. Cochell
                                                      Stephen R. Cochell
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                                                      Houston, Texas 77054
                                                      Telephone: (346) 800-3500
                                                      Facsimile: (281) 783-6800

                                                      Attorney for Defendants Credit Bureau
                                                      Center, LLC and Michael Brown

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been served
upon all counsel of record pursuant to the Court’s ECF system.

                                                      /s/ Stephen R. Cochell
                                                      Stephen R. Cochell




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